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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR04-178-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   JOSHUA LEE COLLIER,                  )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on June 16, 2010. The United States was represented by AUSA Steve Masada and the defendant

16 by Terrence Kellogg. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about September 9, 2005 by the Honorable Marsha

18 J. Pechman on charges of Conspiracy to Distribute Cocaine; Distribution of Cocaine; and

19 Conspiracy to Manufacture Marijuana, and sentenced to 60 months custody on each count (to run

20 concurrently), five years supervised release. (Dkt. 146.)

21         The conditions of supervised release included the standard conditions plus the

22 requirements that defendant be prohibited from possessing a firearm, submit to drug testing,


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 participate in a substance abuse program, abstain from alcohol, submit to search, provide his

02 probation officer with financial information as requested, not be employed by friends, relatives,

03 associates or persons previously known to the defendant unless pre-approved, not work for cash,

04 provide regular pay stubs to his probation officer, and disclose all business interests.

05          In an application dated June 8, 2010 (Dkt. 178-79), U.S. Probation Officer Jennifer Van

06 Flandern alleged the following violations of the conditions of supervised release:

07          1.       Failing to submit a written report to the U.S. Probation Office within the first five

08 days of April, May, and June 2010, in violation of standard condition number 2.

09          2.       Failing to report to the probation office on April 29 and June 1, 2010, in violation

10 of standard condition number 2.

11          Defendant was advised in full as to those charges and as to his constitutional rights.

12          Defendant admitted alleged violation one and waived any evidentiary hearing as to

13 whether it occurred. Defendant denied alleged violation two and requested an evidentiary hearing

14 before Judge Pechman.

15          I therefore recommend the Court find defendant violated his supervised release as alleged

16 in violation one, and that the Court conduct a hearing on the disposition of that violation, as well

17 as an evidentiary hearing on violation two. The next hearing will be set before Judge Pechman.

18          Pending a final determination by the Court, defendant has been released on the conditions

19 of supervision.

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01          DATED this 16th day of June, 2010.



                                                 A
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03                                               Mary Alice Theiler
                                                 United States Magistrate Judge
04

05
     cc:    District Judge:            Honorable Marsha J. Pechman
06          AUSA:                      Steve Masada
            Defendant’s attorney:      Terrence Kellogg
07          Probation officer:         Jennifer Van Flandern

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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